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                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

UNITED STATES OF AMERICA §
                         §
         v.              §                  CRIMINAL NO. 4:24-cr-298
                         §
EITHAN DAVID HAIM        §


                         NOTICE OF APPEARANCE

      COMES NOW the United States of America, by and through its

undersigned counsel, and hereby enters the appearance of John P. Pearson as

counsel for the government in the above-captioned matter.


                                     Respectfully submitted,

                                     Jennifer B. Lowery
                                     ACTING UNITED STATES ATTORNEY



                               By:   /s/ John P. Pearson
                                     John P. Pearson
                                     Assistant United States Attorney
                                     Chief, Criminal Division
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                                     (713) 567-9000 Phone




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                         CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this notice of appearance was filed and

served electronically via the ECF system on counsel for the defendant on January

24, 2025.



                                              /s/ John P. Pearson
                                              John P. Pearson
                                              Assistant United States Attorney




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